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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

VALERIE T. DONHAM,

               Plaintiff,                               Case Number 18-13440
v.                                                      Honorable David M. Lawson

ALLY FINANCIAL, INC.,

               Defendant.
                                             /

                                   ORDER OF DISMISSAL

       Pursuant to the stipulation of the parties, it is ORDERED that the case is DISMISSED

without prejudice and without costs to any party.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Date: February 15, 2019

Stipulated to by:

s/Sergei Lemberg
Attorney for the Plaintiff
Lemberg Law, LLC
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s/Ethan Geoffrey Ostroff
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                                    PROOF OF SERVICE

                 The undersigned certifies that a copy of the foregoing order was
                 served upon each attorney or party of record herein by
                 electronic means or first class U.S. mail on February 15, 2019.

                                            s/Susan K. Pinkowski
                                            SUSAN K. PINKOWSKI




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